         FIFTH DISTRICT COURT OF APPEAL
                STATE OF FLORIDA
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                     Case No. 5D2023-2546
                 LT Case No. 2022-304522-CFDB
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PAUL DANIEL LIPPMAN,

    Appellant,

    v.

STATE OF FLORIDA,

    Appellee.
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On appeal from the Circuit Court for Volusia County.
Raul A. Zambrano, Judge.

Tiffany Gatesh Fearing, of Suncoast Legal Group, P.L., Spring
Hill, for Appellant.

Ashley Moody, Attorney General, Tallahassee, and Mitchell E.
Sanders, Assistant Attorney General, Daytona Beach, for
Appellee.


                        August 27, 2024


PER CURIAM.

    AFFIRMED.


SOUD, KILBANE, and PRATT, JJ., concur.
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Not final until disposition of any timely and
authorized motion under Fla. R. App. P. 9.330 or
9.331.
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